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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION wan G23 A %5S

THOUSAND OAKS BARREL CO. LLC,
Plaintiff, Civil Action No. 1:24-CV-00958-MSN-LRV

Vv.

THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,
Defendant.

ANSWER TO VERIFIED FIRST AMENDED COMPLAINT
Defendant, THE UNINCORPORATED ASSOCIATIONS IDENTIFIED IN SCHEDULE

A, ("Defendant"), by and through its undersigned counsel, hereby files this Answer to the
Verified First Amended Complaint filed by Plaintiff, Thousand Oaks Barrel Co. LLC

("Plaintiff"), and states as follows:
I. INTRODUCTION

Defendant generally denies all allegations set forth in Plaintiff's Verified First Amended
Complaint ("Complaint"), except as specifically admitted herein. Defendant asserts that it has not
infringed upon any valid patent owned by Plaintiff and that the patent in question is invalid and

unenforceable.

II. RESPONSES TO SPECIFIC ALLEGATIONS

1. Paragraph 1: Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 1 and, on that basis, denies the same.
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2. Paragraph 2: Defendant lacks sufficient knowledge or information to form a belief as to
the truth of the allegations contained in Paragraph 2 and, on that basis, denies the same.

3. Paragraph 3: Defendant admits that it is identified in Schedule "A" attached to the
Complaint but denies all allegations of patent infringement and any remaining allegations
contained in Paragraph 3.

4. Paragraph 4: Defendant denies the allegations in Paragraph 4, including the assertion
that it has infringed any claims of U.S. Patent No. 11,057,256 (the "256 Patent"), directly
or indirectly.

5, Paragraph 5: Defendant denies the allegations in Paragraph 5 and specifically denies
that Plaintiff is entitled to any relief sought.

6. Paragraph 6: Defendant denies the allegations in Paragraph 6 and asserts that it has not
caused any damages to Plaintiff.

7. Paragraph 7: Defendant lacks sufficient knowledge or information to form a belief as to
the truth of the allegations contained in Paragraph 7 and, on that basis, denies the same.

8. Paragraph 8: Defendant denies the allegations in Paragraph 8, including that ‘it has
willfully infringed any claims of the '256 Patent.

9, Paragraph 9: Defendant denies the allegations in Paragraph 9 and asserts that any acts it
undertook were lawful and non-infringing.

10. Paragraph 10: Defendant denies the allegations in Paragraph 10, including any
implication that its actions were knowing and intentional.

11. Paragraph 11: Defendant denies the allegations in Paragraph 11 and asserts that Plaintiff

has not suffered any irreparable harm.
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12. Paragraph 12: Defendant denies the allegations in Paragraph 12, including any assertion
that it has engaged in conduct that would justify injunctive relief.

13. Paragraph 13: Defendant lacks sufficient knowledge or information to form a belief as
to the truth of the allegations contained in Paragraph 13 and, on that basis, denies the
same.

14. Paragraph 14: Defendant denies the allegations in Paragraph 14 and asserts that it has
not infringed the '256 Patent.

15. Paragraph 15: Defendant denies the allegations in Paragraph 15, including that it has
profited from any alleged infringement.

16. Paragraph 16: Defendant denies the allegations in Paragraph 16, including that Plaintiff

is entitled to damages or any other relief.

Il. AFFIRMATIVE DEFENSES

Without assuming any burden that it does not otherwise bear, Defendant asserts the following

affirmative defenses:

First Affirmative Defense: Non-Infringement
Defendant has not infringed, either directly, indirectly, or contributorily, any valid and
enforceable claim of U.S. Patent No. 11,057,256 (the "256 Patent"), either literally or under the

doctrine of equivalents.

Second Affirmative Defense: Invalidity of the Patent
The '256 Patent is invalid for failing to satisfy one or more conditions of patentability set forth in
the United States Code, Title 35, including but not limited to §§ 101, 102, 103, and/or 112.

Specifically:
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e 35 U.S.C. § 101: The '256 Patent is invalid because it does not claim patent-eligible

subject matter.

e 35 U.S.C. § 102: The ‘256 Patent is invalid because the claimed inventions were

anticipated by prior art.

¢ 35U.S.C. § 103: The '256 Patent is invalid as the claimed inventions are obvious in light

of prior art.

e 350U.S.C. § 112: The '256 Patent is invalid due to insufficient written description, lack of

enablement, or indefiniteness.

Third Affirmative Defense: Laches and/or Estoppel

Plaintiff's claims are barred, in whole or in part, by the doctrine of laches because Plaintiff
unreasonably delayed in bringing this lawsuit, to the detriment and prejudice of Defendant.
Additionally, Plaintiff is estopped from asserting its claims due to its conduct, representations, or
omissions that induced Defendant to believe that Plaintiff would not enforce its rights under the

'256 Patent.

Fourth Affirmative Defense: Lack of Standing
Plaintiff lacks standing to bring this lawsuit because it is not the rightful owner, assignee, or
exclusive licensee of the '256 Patent, or any such ownership, assignment, or license is defective

or incomplete.

Fifth Affirmative Defense: Failure to State a Claim
Plaintiff's Complaint fails to state a claim upon which relief can be granted, as it does not

sufficiently allege facts to support a plausible claim of patent infringement.
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Sixth Affirmative Defense: Exhaustion and First Sale Doctrine
To the extent that any allegedly infringing product was purchased from or through an authorized
source, Plaintiff's claims are barred by the doctrines of patent exhaustion and the first sale

doctrine.

Seventh Affirmative Defense: No Willful Infringement
Defendant has not willfully infringed any claim of the '256 Patent. Any alleged infringement, if
proven, was unintentional and occurred without knowledge of the patent or its applicability to

the products in question.

Eighth Affirmative Defense: Prosecution History Estoppel
Plaintiff is barred from asserting infringement under the doctrine of equivalents for any claim of
the '256 Patent due to amendments, representations, or arguments made during the prosecution of

the patent before the United States Patent and Trademark Office.

Ninth Affirmative Defense: Waiver and Acquiescence
Plaintiff has waived and/or acquiesced in its rights to assert any claims for infringement of the

'256 Patent by its own conduct, including but not limited to its failure to act in a timely manner.

Tenth Affirmative Defense: Unclean Hands
Plaintiffs claims are barred, in whole or in part, by the doctrine of unclean hands due to
Plaintiff's inequitable conduct, misrepresentations, or other improper actions related to the

enforcement or procurement of the '256 Patent.

IV. PRAYER FOR RELIEF
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WHEREFORE, Defendant respectfully requests that this Court enter judgment in its favor as

follows:
1. Dismissing Plaintiff's Complaint with prejudice;

2. Declaring that Defendant has not infringed any valid and enforceable claim of the '256

Patent;
3. Declaring that the '256 Patent is invalid and unenforceable;

4. Awarding Defendant its costs, expenses, and reasonable attorneys’ fees incurred in |
defending this action pursuant to 35 U.S.C. § 285 or any other applicable provision of

law;
5. Granting Defendant such other and further relief as this Court may deem just and proper.
V. DEMAND FOR JURY TRIAL

Defendant hereby demands a trial by jury on all issues so triable.

Dated: Clash LS CA

Respectfully submitted,
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THE UNINCORPORATED
ASSOCIATIONS IDENTIFIED IN
SCHEDULE A,
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
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Plaintiff(s),
: LRV
Civil Action Number: |. 2G - Cy -004 se -msiUae}
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Defendant(s),

LOCAL RULE 83.1 (N) CERTIFICATION

I declare under penalty of perjury that:

No attorney has prepared or assisted in the preparation of

(Title of Document)

Name of Pro Se Party (Print or Type)

Signature of Pro Se Party

Executed on: (Date)

OR

The following attorney(s) prepared or assisted me in preparation of : na

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(Name of Attorney)

(Address of Attorney)

(Telephone Number of Attorney)
Prepared, or assisted in the preparation of, this document.

(Name of Pro Se Party (Print or Type)

Signature of Pro Se Party

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